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              Exhibit A
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                            D E PA RT M E N T O F T H E A I R F O R C E
              607TH AIR OPERATIONS CENTER (AIR FORCES KOREA)




                                                                                        1 June 2020




MEMORANDUM FOR 607 AOC/CC


FROM: Capt Daniel W. Knick

SUBJECT: Religious Exemption for Member's Immunization Requirement

1. lAW AFI48-110,2-6.3.a.l. 1, Capt Daniel W. Knick, am seeking a religious exemption to the
following vaccines: Influenza, Anthrax, Japanese Encephalitis and Typhoid Fever.

2. The primary reason I am seeking a religious exemption my IMR Immunization requirements
is because numerous, if not all vaccines have been cultured to some extent in aborted fetal cell
tissues and still contain residual fetal cell tissues. Attached is an excipient summary from the
Center for Disease Control (Tab 1) which explains that "various culture media" are used during
the manufacturing process then removed. These cells are often labeled as MRC-5, WI-38, human
diploid cells and human diploid fibroblasts. As a Christian, 1 value the sanctity of human life and
believe that life begins at conception. To explain further. Psalm 139:13 of the Judeo Christian
Bible states that before God formed human life in a mother's womb, he knew that life intimately;
1 belive that abortion is sin and ergo my continued use of vaccines is tolerating that sin for which
1 will have to give an account to God for.

3. In addition to my religious conviction about tolerating the continued use of aborted fetal cells
in vaccines, 1 have numerous health concems also associated with these vaccines. In Tab 2
attached in the email sent with this memorandum, the CDC states that thimerisol (containing
ethylmercury) is not a toxin in vaccines; yet, in Tab 3, attached FDA CFR Title 21 chapter 1,
Subchapter B, section 172.105 states [Mercury as a food additive] is not to exceed 1 PPM.
(Important to note the, regulation makes no distinction between ethyl and methyl mercury). Also,
in Tab 4, The Afluria Vaccine insert states that it contains 24.5 meg of thimerosal (containing
ethylmercury). In the .5ml solution of this vaccine, this is the equivalent of 12.25 parts per
million, or more than 12 times that which is allowable in food in light of the aforementioned
CFR reference. If the Afluria vaccine (most recent Influenza vaccine administered to service
members) contains more than 12 times the permissible amount of mercury in food, it is
implausible that thimerosal is not a toxin in a vaccine administered intramuscularly as the CDC
claims.


4. In addition to my concems regarding thimerosal, 1 also have numerous concerns about
aluminum. FDA CFR title 21 Part 201, sub part G, section 201.323 (Tab 5) explains how
Aluminum in large and small volume parenterals (dmgs not administered orally) used in total
parenteral nutrition are advised that they must not exceed 25 mcg/L and labeling must state that
the parenteral contains no more than 25 mcg/L. As you will see in Tab 6 of the attached
Japanese Encephalitis Vaccine insert, JEV contains 250 meg of Aluminum. The manufacturer of
the vaccine boldly fails to comply with FDA regulations as it provides no statements in the




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        insert meeting the requirement mandated by the FDA to state that the vaccine contains
         than 25 meg of aluminum.

5. Finally, among my greatest concem is the aluminum content in the Antrax vaccine. Per
CDC.gov (snippet taken and attached as Tab 7) the Anthrax vaccine contains 1.2 miligrams per
mililiter of aluminum. This equals .6 or more than .25mL of aluminum in the administration of
.5mL dose of Biothrax (anthrax vaccine). (For the record 1 meg = 1/1,000,000 of a gram). This
means that the anthrax vaccine contains more than 250,000 meg of aluminum, or more than
10,000 times the FDA allowable amount for a parenteral. During my 24 month assignment to
South Korea, I will receive more than 1.25 million micrograms of aluminum. The Committee on
Health Effects Associated with Exposures During the Gulf War concluded that there is a
"paucity of published peer-reviewed literature on the safety of the antrax vaccine," and that the
studies of antrax vaccine have not used active surveillance to systematically evaluate long-term
health outcomes and that this is typical for all but few vaccines. As a Christian 1 believe the
Bible afiiims that the human body and its immune system is "fearfully and wonderfully made,"
and that the body's natural immune system is competent to defend itself from pathogens without
the aid of a vaccine with insufficient data supporting its safety.

6. 1 would like to continue to serve my country in the United States Air Force but 1 feel a sincere
religious and spiritual conviction that if I continue to take these vaccines, 1 will sustain some
form of vaccine injury and be unable to care for my family. It is my sincere hope that you will
please consider my request and not seek punitive actions for my choosing not to accept further
immunizations.


7. For questions or concerns regarding this memorandum, please contact mc at DSN: 784-6802
or via email at daniel.knick.l@us.af.mil.


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                                                DANIEL W. KNICK, Capt, USAF
                                                Chief, 7AF Airspace Scheduling



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